                20-23288-rdd              Doc 2     Filed 12/21/20 Entered 12/21/20 16:36:46                              Main Document
                                                                  Pg 1 of 6

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)      20-23288                                        Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                WB BRIDGE HOTEL LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o GC Realty Advisors, LLC
                                  3284 N. 29th Court
                                  Hollywood, FL 33020
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  159 Broadway Brooklyn, NY 11211
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                 20-23288-rdd              Doc 2        Filed 12/21/20 Entered 12/21/20 16:36:46                               Main Document
                                                                      Pg 2 of 6
Debtor    WB BRIDGE HOTEL LLC                                                                      Case number (if known)    20-23288
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     159 Broadway Member LLC                                     Relationship             Affiliate
                                                 District   SDNY                          When   12/21/20               Case number, if known    20-23289


Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                20-23288-rdd         Doc 2         Filed 12/21/20 Entered 12/21/20 16:36:46                                 Main Document
                                                                 Pg 3 of 6
Debtor   WB BRIDGE HOTEL LLC                                                                     Case number (if known)   20-23288
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                                25,001-50,000
    creditors                                                                    5001-10,000                                50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                              More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                 20-23288-rdd            Doc 2      Filed 12/21/20 Entered 12/21/20 16:36:46                                  Main Document
                                                                  Pg 4 of 6
Debtor    WB BRIDGE HOTEL LLC                                                                      Case number (if known)   20-23288
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 21, 2020
                                                  MM / DD / YYYY


                             X   /s/ David Goldwasser                                                     David Goldwasser
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Restructuring Officer




18. Signature of attorney    X   /s/ FRED B. RINGEL                                                        Date December 21, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 FRED B. RINGEL
                                 Printed name

                                 ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
                                 Firm name

                                 875 THIRD AVENUE
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 603-6300                Email address



                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
 20-23288-rdd          Doc 2     Filed 12/21/20 Entered 12/21/20 16:36:46             Main Document
                                               Pg 5 of 6



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X

In re:                                                            Chapter 11

WB BRIDGE HOTEL LLC,                                              Case No.:

                                    Debtor.
---------------------------------------------------------X

                                  CERTIFICATE OF RESOLUTION

         I, the undersigned, DAVID GOLDWASSER, as Chief Restructuring Officer of WB

Bridge Hotel LLC (the “Company”), do hereby certify that at a meeting of the Company duly

called and held, the following resolutions were adopted and recorded in the Minute Book of the

Company, and they have not been modified or rescinded, and are still in full force and effect:

                            RESOLVED, that in the judgment of the Company it is
                    desirable and in the best interest of the Company, its creditors,
                    members and other interested parties, that a petition be filed by the
                    Company for relief under Chapter 11 of title 11 of the United
                    States Code (the “Bankruptcy Code”); and it is further

                           RESOLVED, that the form of petition under Chapter 11
                    presented to this meeting is approved and adopted in all respects,
                    and that David Goldwasser as Chief Restructuring Officer of the
                    Company, is authorized to execute and verify a petition
                    substantially in such form and to cause the same to be filed with
                    the United States Bankruptcy Court for the Southern District of
                    New York at such time as he shall determine; and it is further

                             RESOLVED, that David Goldwasser, as Chief
                    Restructuring Officer of the Company, is authorized to execute and
                    file all petitions, reorganization schedules, lists and other papers
                    and to effectuate the filing of the Chapter 11 case, and, in that
                    connection, that the firm of Robinson Brog Leinwand Greene
                    Genovese & Gluck P.C. be retained and employed as legal counsel
                    for the Company under a general retainer, in addition to such
                    special counsel as may hereafter become necessary or proper with
                    a view to the successful conclusion of such Chapter 11 case.


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 20-23288-rdd       Doc 2   Filed 12/21/20 Entered 12/21/20 16:36:46   Main Document
                                          Pg 6 of 6



     IN WITNESS WHEREOF, I have hereunto set my hand and seal of the
Company this 21st day of December, 2020.


                                   WB BRIDGE HOTEL LLC


                                   By:  /s/ David Goldwasser
                                   DAVID GOLDWASSER
                                   CHIEF RESTRUCTURING OFFICER




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